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 *QuaIitied family Mediator per R. 1:40                                         fAX: (908) 2$4-09 15



                                               March 11,2020


VIA E-MAIL AND REGULAR MAIL
Vincent Nolan
18$ Morris Turnpike
Randolph, New Jersey 07869

Re: Malibu Media, LLC v. Vincent Nolan


Dear Mr. Nolan:

        My client is not interested in examining the computer devices you held out to the Court
as being dispositive of your liability. We have learned long ago that computer devices are too
easy to replace, clean, or otherwise alter. The type of forensic examination you suggest is more
often than not an exercise in futility that my client would consider a last resort and not a first step
into discovery. Should this case proceed in the due course of discovery my client believes
written discovery and depositions (of your client and all those with access to the complained of
IP address during the period of infringement) including proximal neighbors will have more
probative value.

As set forth in the Complaint, investigation into you IP address indicates that you not only
impermissibly received and distributed my client’s copyrighted works, but also were a persistent
infringer of the copyrighted works of many others, over a long period of time. Our evidence
indicates that in addition to the illegal distribution via BitTorrent of seven (7) of my clients
original creative works over the period March 5, 2018 through August 6, 2018, your IP address
was also used to illegally distribute via BitTorrent more than 200 other works (not authored by
my client) during the period May 24, 2016 through September 24, 2018. The Additional
Infringed Works include: 1) adult content films from other authors in my client’s industry; 2)
mainstream television downloads including Danger Man AKA Secret Agent, Wings 3) music
like, Colosseum, Judy Boucher. At this time, both my client and I have evidence that you, and
not someone else, committed the infringement. All evidence will be provided, if need be, during
discovery

With this being said and increased discovery expenses on the horizon, at this point in the
proceeding my client is offering to settle the matter for $1000 per work infringed or $7,000.
Under the Copyright Act, copyright law affords content providers a range of damages between
$750 and $30,000 per work infringed, and in some cases can extend to $150,000 per
infringement. See 17 U.S.C. 504. This offer is made contingent on the basis that payment be
received within 10 days from today and is subject to increase to the extent that this matter is
PJC: ADMITFED TO THE BAR Of THE STATE Of NEW JERSEY; ALSO ADMITrED TO FEDERAL DISTRICT COURT FOR THE
DISTRICT OF NEW JERSEY; ALSO A MEMBER OF THE BAR OF THE UNITED STATES SUPREME COURT.
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AHORNEY AT LAW
 forced to proceed further into litigation. If we have to proceed to case evaluation and/or expert
 discovery we will not be able to resolve the matter for such a low demand. Please advise.


                                           Very truly yours,

                                          /s/ Patrick 1 Cerillo
                                            Patrick J. Cerillo

PlC: cpf
Enclosure
cc: Malibu Media, LLC




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